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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

BALANCECXI, INC. D/B/A ZACOUSTIC,               §
                                                §
             Plaintiff                          §
V.                                              § Civil Action No. 1:19-cv-767-RP
                                                §
INTERNATIONAL CONSULTING &                      §
RESEARCH GROUP, LLC,                            §
CHRISTOPHER DESIMONE, AND                       §
ADAM OLDFIELD                                   §
                                                §
             Defendants


                          DECLARATION OF ADAM SENCENBAUGH



       1.        My name is Adam Sencenbaugh. I am a partner at the law firm of Haynes and

Boone, LLP (“Haynes and Boone”) and lead counsel for Plaintiff BalanceCXI, Inc. d/b/a

Zacoustic (“BalanceCXI”) in this action against Defendants International Consulting & Research

Group, LLC (“ICAR”), Christopher DeSimone (“DeSimone”), and Adam Oldfield (“Oldfield”)

(collectively, “Defendants”). I am over twenty-one (21) years of age and am fully competent to

make this declaration. I have prepared this Declaration for the purpose of testifying regarding the

award for reasonable attorney’s fees. As lead attorney in this case, I am personally familiar with

the services that attorneys at Haynes and Boone provided to BalanceCXI in this matter. These

services were either performed by me or with my knowledge and under my supervision.

Therefore, the facts stated in this declaration are within my personal knowledge and are true and

correct.




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A.     Experience and Qualifications.

       2.      I graduated from the University of Texas School of Law, where I was a member

of the Texas Law Review, with honors and the Order of the Coif distinction in 2007. I am an

attorney licensed to practice law in the state of Texas since 2007 and the state of Mississippi

since 2008. I am licensed to practice in the United States Court of Appeals for the Fifth Circuit;

the United States District Courts for the Eastern, Southern, and Western Districts of Texas; and

the United States District Courts for the Southern and Northern Districts of Mississippi. Prior to

entering private practice, I clerked for the Honorable Keith Starrett, United States District Judge

for the United States District Court for the Southern District of Mississippi, from 2007 to 2008.

       3.      My practice is devoted to environmental, labor and employment, and litigation

matters, including numerous trade secrets disputes. I am board certified in labor and employment

law by the Texas Board of Legal Specialization. I have also been recognized by Texas Super

Lawyers Rising Stars, Thomson Reuters, for Employment Defense Litigation and Environmental

Defense Litigation, 2015, and Business Litigation, 2014 to 2020. I was also recognized as a

Labor and Employment Star by Benchmark Litigation, Euromoney Institutional Investor PLC, in

2021. A true and correct copy of my firm biography is attached as Exhibit B.1.

       4.      In this matter, I have been primarily assisted by Henson Adams, associate in the

labor and employment and litigation practice groups at Haynes and Boone. Mr. Adams graduated

from the University of Texas School of Law, where he was the Managing Editor of the Texas

Review of Entertainment and Sports Law, with honors and the Order of the Barristers distinction

in 2016. Mr. Adams has been licensed to practice law in the State of Texas since 2016 and is

licensed to practice in the United States District Court for the Western District of Texas. Mr.

Adams interned for the Honorable Judge Craig Gargotta, United States Bankruptcy Court for the


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Western District of Texas, in 2014. Mr. Adams interned for the Honorable Judge Jeffrey Boyd,

Justice for the Supreme Court of Texas, in 2015. Mr. Adams has been recognized by Best

Lawyers, Woodward/White, Inc., “Ones to Watch” for Labor and Employment Law in 2021 and

by San Antonio Scene Magazine as a Rising San Antonio Star Lawyer in 2020 and 2021. A true

and correct copy of Mr. Adams’s firm bio is attached as Exhibit B.2.

       5.      I have also been assisted in this matter by Iris Gibson, counsel in the litigation

practice group of Haynes and Boone. Ms. Gibson graduated from the University of Texas School

of Law, where she was a member of the Texas Law Review, with high honors and the Order of

the Coif distinction in 2002. Ms. Gibson has been licensed to practice law in the State of Texas

since 2002 and is licensed to practice in the United States Court of Appeals for the Fifth Circuit

and the United States District Court for the Western District of Texas. In 2010, Ms. Gibson

received the J. Chrys Dougherty Legal Services Award for her pro bono work related to access

for justice. A true and correct copy of Ms. Gibson’s firm bio is attached as Exhibit B.3.

       6.      I have also been assisted by Chrissy Long, associate in the labor and employment

and litigation practice groups at Haynes and Boone. Ms. Long graduated from the University of

Texas School of Law, where she was a member of The Review of Litigation, with honors in

2017. Ms. Long has been licensed to practice in the State of Texas since 2017. Ms. Long is

licensed to practice in the United States District Court for the Eastern and Northern Districts of

Texas. Prior to private practice, Ms. Long clerked for the Honorable Paul Green, Justice for the

Supreme Court of Texas, from 2017 to 2018. A true and correct copy of Ms. Long’s firm bio is

attached as Exhibit B.4.

       7.      Our team of attorneys also received assistance from Mike Brockwell, a Trial

Services Consultant with Haynes and Boone. Mr. Brockwell has been with Haynes and Boone


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since 2001 and provided valuable assistance in preparation of BalanceCXI’s presentation at the

evidentiary hearing on its Motion for Sanctions.

B.     Time Records and Invoices.

       8.       I supervised the work performed by each of the attorneys and staff in this matter.

The nature of the services these attorneys and staff provided is fully and fairly described in the

contemporaneous time records kept by Haynes and Boone in connection with this matter and in

the periodic bills for those services that were sent to BalanceCXI. Time entry records are kept by

the firm in the regular course of business, and it was the regular course of business of the firm for

each time keeper to make the time-entry records or transmit information thereof to be included in

such records. The time-entry records were made at or near the time that the hours were worked

or reasonably soon thereafter. The firm then generates invoices containing the time-entry

records.

       9.       Without waiving any applicable attorney-client privilege or work product, true

and correct redacted copies of the invoices for work performed in November 2019 (Invoice No.

21409688), December 2019 (Invoice No. 21416367), January 2020 (Invoice No. 21425635),

February 2020 (Invoice No. 21424660), March 2020 (Invoice No. 21424204), April 2020

(Invoice No. 21428969), May 2020 (Invoice No. 21435038), and June 2020 (Invoice No.

21437738) are attached as Exhibit B.5. Any time entry for which BalanceCXI does not seek fees

it incurred in filing and arguing the Motion to Compel (Dkt. No. 12) and the Motion for

Sanctions (Dkt. No. 66) has been redacted. 1

       10.      True and correct copies of the invoices for the work performed by R3 Digital

Forensics are attached as Exhibit B.6.

1
 BalanceCXI reserves the right to seek those redacted attorneys’ fees and expenses related to its
underlying claims that provide for an award of attorneys’ fees and expenses to BalanceCXI.
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       11.     For ease of reference, an appendix that includes a summary and a delineation of

attorneys’ fees and expenses by category is attached as Exhibit A.

       12.     A summary of the time Haynes and Boone attorneys and staff worked on filing

and arguing the Motion to Compel and Motion for Sanctions, as well as the corresponding fee

amounts, is as follows:




C.     Reasonableness of Rates.

       13.     For its work in connection with the Motion to Compel and Motion for Sanctions,

Haynes and Boone charged BalanceCXI at the following hourly rates: (a) Adam H.

Sencenbaugh: $725.00; (b) Iris Gibson: $700; (c) Henson Adams: $495.00; (d) Chrissy Long:

$495.00; and (e) Mike Brockwell: $375.00. On information and belief, these hourly rates are

comparable to or less than those charged by comparable, full-service law firms in the Austin,

Texas community for similar services rendered by lawyers with my experience as well as the

experience of Ms. Gibson, Mr. Adams, and Ms. Long.             Mr. Brockwell’s hourly rate is

comparable to or less than those charged by trial services consultants with his experience. The

rates charged by R3 Digital Forensics are also reasonable for forensic examiners based on the

experience and reputation of R3 Digital Forensics.

       14.     I base these statement on my close to 15 years of practicing law that includes:

(a) litigating numerous matters, including trade secrets matters, in state and federal court,



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including within the Western District of Texas; (b) serving as President of the Civil Litigation

Section of the Austin Bar Association; (c) serving as Program Director and Executive Committee

member of Austin’s Lloyd Lochridge American Inn of Court; (d) serving as a member of the

American Bar Association’s Equal Employment Opportunity Committee; (e) reviewing billing

rate information for comparable law firms during litigation; and (f) retaining forensic examiners

for trade secrets related matters.

       15.     I also base these statements on my review of the Thomson Reuters Peer Monitor

data for AmLaw 100 law firm average hourly rates within Austin, Texas for the years 2019

through 2020 for the litigation practice area. The Peer Monitor is created using an automated

process that collects data from over 200 participating firms’ financial management systems. 2

Haynes and Boone subscribes to the Peer Monitor and through its subscription can download

attorney fee data across different markets. The firm used its subscription to generate a Peer

Monitor report for standard attorney billing rates for litigation services in 2019 and 2020 in the

Austin, Texas legal community (“Peer Monitor Report”). The Peer Monitor Report is kept by the

firm in the regular course of business, and it was the regular course of business of the firm to

keep the Peer Monitor Report for competitive intelligence purposes. The Peer Monitor Report

was made at or near the time the Peer Monitor data was downloaded and was made by the firm’s

competitive intelligence staff who generated the Peer Monitor Report in the regular course of

business. A true and correct copy of the Peer Monitor Report is attached as Exhibit B.7.

       16.     I also base these statements on my review of Valeo Partners data for AmLaw 100

average hourly attorney billing rates for litigation services within Austin, Texas for the years

2019 through 2020, including the specific average hourly rates for DLA Piper, the firm currently

2
  See Thomson Reuters, Peer Monitor, https://legal.thomsonreuters.com/en/products/peer-
monitor .
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           19.   Based on my experience and review of market data, the hourly rates charged by

Haynes and Boone were reasonable.

D.         Reasonableness of Hours Expended.

           20.   The time entries contained in Exhibit B.5 (the invoices) are true and

contemporaneous time entries reflecting work performed by Haynes and Boone attorneys and

staff and the hours expended were actually expended on the activities as stated in the time

entries.

           21.   I reviewed each of the time entries recorded by Haynes and Boone, including the

time entries contained in Exhibit B.5, and I exercised billing judgment by reducing hours where

appropriate, including where the recorded time was excessive, duplicative, or inadequately

documented. Those reductions are shown by brackets or “No Charge” within the time entry, and

the billed time already reflects the corresponding reduction.

           22.   I also reviewed each of the time entries billed by R3 Digital Forensics, which are

contained in Exhibit B.6, and determined that they accurately reflect the work that BalanceCXI

requested that R3 Digital Forensics perform on its behalf related to this matter. Given the

complexity and breadth of the forensic issues, in particular those created by Defendants’ use of

specialized software to delete data from multiple devices, R3 Digital Forensics was required to

expend significant hours on this matter. Roy Rector, a forensic examiner with R3 Digital

Forensics, testified at the Motion for Sanctions hearing, which required preparation time in

addition to testimony time. The 74 hours billed by R3 Digital Forensics on this matter were

reasonable.

           23.   A summary of the hours billed by activity (found in Exhibit A) are as follows:




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E.     Johnson Factors.

       Time and Labor Required

       24.    Haynes and Boone billed 19 hours (and wrote off 6 hours) on conference efforts

to avoid the Motion to Compel. These efforts (which do not account for the months of Haynes

and Boone’s prior conference efforts to informally track and recover BalanceCXI’s stolen data)

primarily included preparing and sending detailed correspondence to Defendants’ counsel

regarding deficiencies with respect to Defendants’ discovery responses. This correspondence, to

which Defendants never responded prior to the Motion to Compel, provided a detailed and



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specific path towards alleviation of the need for the Motion to Compel. BalanceCXI attempted in

good faith negotiate a resolution to the discovery issues to no avail. The 19 hours billed for

conference efforts preceding the Motion to Compel were reasonable.

       25.     Haynes and Boone billed 38.9 hours (and wrote off 4.9 hours) for preparing the

Motion to Compel. This was no ordinary motion to compel. In fact, it was closer in substance to

a motion for preliminary injunction, as it contained a detailed factual record that included, among

other things, forensic analysis and other evidence known to BalanceCXI at the time related to

Defendants’ deletion of data from BalanceCXI computers and initial evidence related to

Defendants’ cover-up of their misconduct. This evidence was marshalled as part of the Motion to

Compel, in part, because Defendants were withholding discovery responses based on their theory

that BalanceCXI must make an initial evidentiary showing prior to obtaining discovery, and

Defendants’ allegation that BalanceCXI had no evidence of misconduct by Defendants.

Preparation of the Motion to Compel also included preparation of a detailed appendix which

addressed the numerous objections (almost all of which were withdrawn or overruled) by

Defendants to BalanceCXI’s discovery. The 38.9 hours billed for preparing the Motion to

Compel and corresponding evidentiary record were reasonable.

       26.     Haynes and Boone billed 23.9 hours for replying to Defendants’ response to the

Motion to Compel. In their response, and in withholding production of documents, Defendants

made the novel (yet ultimately rejected) argument that BalanceCXI had failed to properly serve

Defendants. Replying to this argument required BalanceCXI to incur fees to review and analyze

the response and the number of (inapt) cases cited within it. In addition to preparing the reply

itself, BalanceCXI was also forced to prepare a sworn declaration that stated and attached

evidence showing that BalanceCXI had indeed properly served Defendants. The 23.9 hours


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billed for preparing BalanceCXI’s reply to Defendants’ response to the Motion to Compel were

reasonable.

       27.    Haynes and Boone billed 48.3 hours related to its reply to Defendants’ amended

response to the Motion to Compel. After BalanceCXI filed its reply to Defendants’ original

response to the Motion to Compel, Defendants moved for leave to amend their response (which

had rested solely on an improper service argument) so that they could substantively respond to

the Motion to Compel. This required BalanceCXI to incur fees reviewing and analyzing the

motion for leave and corresponding exhibits, and then respond to the motion for leave. And then

BalanceCXI had to incur fees reviewing, analyzing, and then preparing a reply to respond to

Defendants’ amended response to the Motion to Compel, which for the first time addressed the

plethora of objections (besides improper service) that Defendants made to BalanceCXI’s

discovery requests. The 48.3 hours billed related to BalanceCXI’s reply to Defendants’ amended

response to the Motion to Compel were reasonable.

       28.    Haynes and Boone billed 12.7 hours related to responding to Defendants’ motion

for leave to file a surreply to BalanceCXI’s reply to Defendants’ amended response. After

BalanceCXI filed its reply to Defendants’ amended response addressing the substance of

Defendants’ objections, Defendants filed a motion for leave to file a surreply to it in order to

reassert arguments related to Defendants’ ultimately failed improper service objection. In order

to cut off what was appearing to be a pattern of endless motions by Defendants related to

responding to the Motion to Compel, BalanceCXI incurred fees preparing a response to

Defendants’ motion for leave that addressed both the procedural reasons why a surreply was not

proper as well as responded to the substantive arguments made in the surreply attached to




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Defendants’ motion for leave. The 12.7 hours billed related to BalanceCXI responding to

Defendants’ motion for leave to file a surreply to the Motion to Compel were reasonable.

       29.     Haynes and Boone billed 19 hours related to additional conference and other

efforts after filing the Motion to Compel (and briefing that followed). After filing the Motion to

Compel, BalanceCXI continued its efforts to track and recover its data from Defendants (and

continued to be stonewalled regarding additional devices beyond the two tampered-with external

hard drives produced by Defendants) and confer with Defendants to narrow the issues raised by

its Motion to Compel. While BalanceCXI was successful in resolving some of the objections at

issue in the Motion to Compel, many had to be ultimately overruled by the Court. And

BalanceCXI would later learn through more discovery and forensic analysis that its efforts to

wrangle information about its data through conference efforts with Defendants were not

unnecessary because Defendants’ cover-up was ongoing. The 19 hours billed related to

additional conference and other efforts after filing the Motion to Compel were reasonable.

       30.     Haynes and Boone billed 17.8 hours (and wrote off 7 hours) preparing for and

attending the hearing before Judge Austin on the Motion to Compel. After the Court set the

Motion to Compel for hearing, BalanceCXI incurred fees in preparing for and attending the

hearing on the Motion to Compel. This included the preparation of argument, demonstratives,

and a presentation that outlined the complicated factual record before the Court. And, given the

complex nature of this unordinary Motion to Compel and underlying facts, it was reasonable for

two Haynes and Boone attorneys to attend the hearing. The 17.8 hours billed for preparing and

attending the hearing on the Motion to Compel were reasonable.

       31.     Haynes and Boone billed 16.4 hours (and wrote off 2.5 hours) responding to

Defendants’ “emergency” motion to amend the Court’s order on the Motion to Compel.


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Defendants’ motion misconstrued Judge Austin’s ruling from the bench at the hearing on the

Motion to Compel. This resulted in the Court entering a text order that modified the order on the

Motion to Compel. Through additional rounds of briefing and BalanceCXI’s motion to amend

that text order, which included BalanceCXI ordering and reviewing the transcript for the hearing

and attaching excerpts from it, the Court granted BalanceCXI’s motion to amend the text order to

reflect the Court’s actual ruling at the hearing. The 16.4 hours billed related to responding to

Defendants’ emergency motion to amend the Court’s order on the Motion to Compel were

reasonable.

       32.    Haynes and Boone billed 65.4 hours (and wrote off 10.7 hours) in reviewing and

analyzing Defendants’ productions pursuant to the Court’s order on the Motion to Compel and

then preparing the advisory report that the Court directed BalanceCXI to file after Defendants’

supplemented their production pursuant to the Court’s order on the Motion to Compel. This was

a critical stage in BalanceCXI’s efforts to track down its data and uncover the depth of

Defendants’ misconduct. This stage involved BalanceCXI having to review multiple sets of

productions due to issues with the form of production and metadata. Ultimately, through the

additional information that BalanceCXI received after the Court’s order on the Motion to

Compel and deeper forensic analysis, BalanceCXI incurred additional fees to marshal and

analyze evidence of Defendants’ spoliation and theft of its trade secrets, including its source

code. This culminated in BalanceCXI filing a 16-page report with the Court that was

accompanied by 18 exhibits, including the additional forensic analysis. The need for such a long

and detailed report was amplified by Defendants’ filing a preemptive advisory (without being

asked to) that made misleading claims about Defendants’ conduct in the discovery process.

BalanceCXI was both replying to Defendants’ preemptive filing and reporting the status of


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discovery as ordered by the Court. The 65.4 hours billed related to reviewing and analyzing the

produced discovery and making a report to the Court were reasonable.

       33.     Haynes and Boone billed 45 hours (and wrote off 8.5 hours) in preparing the

Motion for Sanctions. This time included initial research related to spoliation of evidence and

failure to comply with a discovery order and remedies for BalanceCXI. Then, BalanceCXI

incurred fees in preparing the rarest kind of motion for sanctions—a Motion for Sanctions which

asked for a default judgment. Given the underlying facts and the relief sought, the Motion for

Sanctions was complex and required extensive work in a short period by multiple attorneys to

prepare and file it. The 45 hours billed for preparing the Motion for Sanctions were reasonable.

       34.     Haynes and Boone billed 6.8 hours (and wrote off 1 hour) related to conference

and other efforts after BalanceCXI filed its Motion for Sanctions. After filing its Motion for

Sanctions, Defendants and BalanceCXI continued to confer related to the missing data and other

discovery deficiencies that were central to the Motion for Sanctions. This also included time

spent reviewing additional documents produced pursuant to the Court’s order on the Motion to

Compel after BalanceCXI filed its Motion for Sanctions. The 6.8 hours billed for conference and

other efforts related to the Motion for Sanctions were reasonable.

       35.     Haynes and Boone billed 36.7 hours (and wrote off 7.9 hours) for replying to

Defendants’ response to the Motion for Sanctions. The efforts in replying to Defendants’

response to the Motion for Sanctions included reviewing and analyzing the response, cited case

law, and the new evidence attached to the response, which included new testimony from

Defendant Oldfield regarding one of the destroyed devices. BalanceCXI needed to analyze this

new testimony against the existing evidence and forensic analysis, and then prepare a reply that

further addressed Defendants’ spoliation of evidence and cover-up and responding to


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Defendants’ argument that BalanceCXI had failed to confer with Defendants. The 36.7 hours

billed for replying to Defendants’ response to the Motion for Sanctions was reasonable.

       36.     Haynes and Boone billed 169.5 hours (and wrote off 44.9 hours) preparing for

and attending the two-day evidentiary hearing before Judge Austin on the Motion for Sanctions.

The hearing on the Motion for Sanctions was akin to the type of mini-trial that is put on for a

motion for preliminary injunction. To prepare for the hearing, BalanceCXI incurred fees related

to preparing a direct examination of a forensic expert witness, preparing the forensic expert

witness for testimony, preparing cross examinations of Defendants, researching legal issues,

preparing a detailed hearing presentation, and creating over 40 exhibits (some of which

BalanceCXI used in depositions of Defendants set by BalanceCXI after the Court set the Motion

for Sanctions for hearing). It was also reasonable for two BalanceCXI attorneys to attend the

hearing, given the complex nature of the issues, the novelty (at the time) of a Zoom evidentiary

hearing, and that both attorneys questioned witnesses. As reflected by the detailed Report and

Recommendation (Dkt. 98), the evidentiary hearing involved extensive work related to a long

and complicated record of discovery misconduct. Again, this Motion for Sanctions was far from

ordinary. The 169.5 hours billed for preparing and attending the hearing on the Motion for

Sanctions was reasonable.

       37.     Haynes and Boone billed 11.6 hours (and wrote off 3 hours) directly related to the

forensic work that was necessary in this matter. That work involved working with R3 Digital

Forensics and reviewing forensic analysis in the effort to track BalanceCXI’s data. The 11.6

hours billed for forensic-related attorney work was reasonable.

       38.     All-in-all, the conduct by the Defendants underlying the Motion to Compel and

Motion for Sanctions required BalanceCXI to incur significant fees. BalanceCXI’s efforts were


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all reactionary to Defendants’ own conduct. BalanceCXI spent months even prior to filing a

lawsuit to try to recover its data. And when those efforts failed, forcing BalanceCXI to file this

lawsuit, BalanceCXI spent additional months trying to informally recover its data prior to

serving formal discovery on Defendants. The hours and fees escalated as Defendants, rather than

come forward with what they had done, continued to stonewall BalanceCXI and file motion after

motion in response to the Motion to Compel, forcing BalanceCXI to respond to each filing. This

continued through the Motion for Sanctions, with Defendants even waiting until their response to

the Motion for Sanctions to admit that they connected and then destroyed yet another device to

BalanceCXI’s computers. Every step BalanceCXI has taken in this case related to the Motion to

Compel and Motion for Sanctions has been in reaction to conduct by Defendants, starting with

BalanceCXI’s discovery of Defendants’ use of specialized software to wipe data from

BalanceCXI computers. Had Defendants simply turned over the BalanceCXI computers

unaltered, these efforts would have been unnecessary. Therefore, given the circumstances, the

531 hours billed to BalanceCXI, which reflects reductions based on my exercise of billing

judgment, was reasonable.

       Novelty and Difficulty of the Legal Issues

       39.     The Motion to Compel and Motion for Sanctions involved difficult legal issues,

particularly when considered against the complexity of the underlying facts. This matter

involved theft of trade secrets, forensic analysis, and the rarest kind of sanctions related to

discovery misconduct. Throughout the Motion to Compel and Motion for Sanctions process,

BalanceCXI incurred fees to develop and address novel and difficult legal and factual issues.




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       Preclusion of Other Employment

       40.     The 531 hours of time expended by Haynes and Boone attorneys related to the

Motion to Compel and Motion for Sanctions represents a portion of the total fees worked on this

matter over the course of the past year and a half. This time represents a substantial amount of

time expended by us on all legal matters during the relevant time period. I have, and Haynes and

Boone has, a steady supply of clients on whose cases or matters these same attorneys could have

worked if I or the firm had not chosen to render services to BalanceCXI.

       Skill Required to Perform the Legal Service Properly

       41.     The area of trade secrets litigation is specialized and complex, particularly where

it involves theft of source code and other electronically stored data. And this particular case has

the added layer of complexity because of the issues related to intentional spoliation of evidence

through specialized software and the deep forensic analysis involved. As a result, a high degree

of skill and thoroughness was required to gather facts and address complex legal issues while

prosecuting BalanceCXI’s trade secrets and other claims.

       Customary Fee

       42.     As I discuss above, the rates charged by Haynes and Boone in this case were

customary and comparable (if not below) the rates charged by other AmLaw 100 firms within

the Austin, Texas community for litigation work.

       Monetary Amount Involved and Results Obtained

       43.     This case is critical to BalanceCXI. When two high-level executives left the

company and then stole BalanceCXI’s data, including source code, from company computers,

this created an existential crisis for the company. Because BalanceCXI is a software business, it

must ensure that its source code and other trade secrets remain secret. Further, the evidence of


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Defendants contacting BalanceCXI customers to offer competing services after leaving

BalanceCXI with BalanceCXI data was even more disruptive. Defendants’ actions put

BalanceCXI’s entire business at risk.

         44.     The issues raised by the Motion to Compel and Motion for Sanctions were not

collateral to this dispute. Instead, they went to the heart of the matter. Defendants’ theft of trade

secrets, including BalanceCXI’s source code, was central to the case. The result obtained through

the Motion to Compel was crucial because it allowed BalanceCXI to track its stolen data. And

the result obtained by the Motion for Sanctions, a default judgment on liability, was the best

result that BalanceCXI could have obtained through its Motion for Sanctions with respect to its

trade secrets claims.

         Experience, Reputation, and Ability of the Attorneys

         45.     The experience, reputations, and abilities of the lawyers performing the services

are addressed above and in Exhibits B.1-B.4.

         Nature and Duration of the Professional Relationship

         46.     The relationship between Haynes and Boone and BalanceCXI involves an arms-

length transaction, with no attendant considerations that might call into question the

reasonableness of the hourly rates I charged or the number of hours I expended. This matter, and

issues related to it, is BalanceCXI’s only retention of Haynes and Boone.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

         Executed on February 17, 2021.



4846-5046-1660                                Adam Sencenbaugh


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